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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF GEORGIA
                                 SAVANNAH DIVISION

MICHAEL JACOB CASTLE-FOSTER,

                 Plaintiff,
                                                          CIVIL FILE ACTION NUMBER:
v.
                                                              4:19-cv-00139-RSB-CLR
CINTAS CORPORATION No. 2 DBA
CINTAS CORPORATION, and, CINTAS
CORPORATE SERVICES, INC.,

                 Defendants.


             JOINT NOTICE OF SCHEDULE FOR DISCOVERY COMPLETION


          The Parties hereby file this Joint Notice of Schedule for Discovery Completion pursuant

to the Court's Order (Doc. 188 at 83-84). The Parties have conferred and agree on the following

dates:

         March 10, 2021, at 1:00 p.m. EST: Independent Medical Exam of Plaintiff performed by

          Defendant's expert Robert J. Barth, Ph.D.;

         March 23, 2021, at 9:00 a.m. EST: Independent Medical Exam of Plaintiff performed by

          Defendant's expert J. Sidney Alexander, M.D.;

         March 24, 2021, at 2:00 p.m. EST: Independent Medical Exam of Plaintiff performed by

          Defendant's expert Albert A. Cook, M.D.;

         The week of March 29, 2021: 30(b)(6) depositions of Cintas Corporation's designated

          Fed. R. Civ. P. 30(b)(6) representatives;

         Plaintiff expert Chris Stewart’s deposition will be conducted on March 10, 2021;




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       Defendant is hand-delivering supplemental production of original training videos on

        February 25, 2021;

       The parties have agreed upon an amount for sanctions and the issue is resolved;

       The parties respectfully request guidance from the Court regarding the timing of

        supplemental reports by Dr. Barth, Dr. Alexander and Dr. Cook once they have

        conducted their IMEs, and plaintiff requests guidance as to whether plaintiff may re-

        depose them.

        Respectfully submitted, this 26th day of February 2021.

                                                    Hall Booth Smith, P.C.


                                                    s/ Beth Boone
                                                    BETH BOONE
                                                    Georgia Bar No.: 130300
                                                    WILLIAM S. MANN
                                                    Georgia Bar No.: 964223
                                                    STEPHANIE R. AMIOTTE
                                                    Georgia Bar No.: 274946
                                                    R. WELLS LITTLEFIELD, III
                                                    Georgia Bar No.: 335211
                                                    PAMELA L. COLEMAN
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                       IN THE UNITED STATES DISTRICT COURT
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                                SAVANNAH DIVISION

MICHAEL JACOB CASTLE-FOSTER,

                Plaintiff,
                                                            CIVIL FILE ACTION NUMBER:
v.
                                                               4:19-cv-00139-RSB-CLR
CINTAS CORPORATION No. 2 DBA
CINTAS CORPORATION, and, CINTAS
CORPORATE SERVICES, INC.,

               Defendants.


                                  CERTIFICATE OF SERVICE


        I hereby certify that I electronically filed and served upon all parties listed below a copy

of the foregoing JOINT NOTICE OF SCHEDULE FOR DISCOVERY COMPLETION

with the Clerk of Court for the United States District Court for the Southern District of Georgia,

Savannah Division, in accordance with the notice of electronic filing (NEF), which was

generated as a result of electronic filing in this Court.

                                       Cecil Clay Davis, Esq.
                                       Howard E. Spiva, Esq.
                                       Mary K. Hashemi, Esq.
                                      Howard E. Spiva, II, Esq.
                                     SPIVA LAW GROUP, P.C.
                                          P.O. Box 61267
                                      Savannah, Georgia 31420
                                        Counsel for Plaintiff




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      This 26th day of February 2021.

                                            Hall Booth Smith, P.C.


                                            s/ Beth Boone
                                            BETH BOONE
                                            Georgia Bar No.: 130300
                                            Counsel for Defendants
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